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                                                                                                              United States District Court
                                                                                                                 Southern District of Texas

                                                                                                                    ENTERED
                                    UNITED STATES DISTRICT COURT                                                  October 15, 2024
                                     SOUTHERN DISTRICT OF TEXAS                                                  Nathan Ochsner, Clerk
                                         MCALLEN DIVISION

    JUAN RAUL NAVARRO RAMIREZ,                                  §
                                                                §
          Petitioner,                                           §
                                                                §
    VS.                                                         §    CIVIL ACTION NO. 7:18-CV-0386
                                                                §
    BOBBY LUMPKIN, et al.,                                      §
                                                                §
          Respondents.                                          §

                    ORDER ADOPTING REPORT AND RECOMMENDATION

          Before the Court is Petitioner Juan Raul Navarro Ramirez’s petition for a writ of habeas

corpus pursuant to 28 U.S.C. § 2254, which had been referred to the Magistrate Court for a report

and recommendation. On May 31, 2024, the Magistrate Court issued the Report and

Recommendation, recommending that Respondent’s Motion for Summary Judgment be granted,

that Petitioner’s Cross-Motion for Summary Judgment be denied, that the Petition be denied, and

that this action be dismissed. It was further recommended that a Certificate of Appealability be

denied. Petitioner has filed timely objections to the Magistrate Court’s Report and

Recommendation.

          Pursuant to 28 U.S.C. § 636(b)(1)(c), the Court has made a de novo determination of those

portions of the report to which objections have been made. As to those portions to which no

objections have been made, in accordance with Federal Rule of Civil Procedure 72(b), the Court

has reviewed the report for clear error.1 Having thus reviewed the record in this case, the parties’




1
  As noted by the Fifth Circuit, “[t]he advisory committee’s note to Rule 72(b) states that, ‘[w]hen no timely objection
is filed, the [district] court need only satisfy itself that there is no clear error on the face of the record in order to accept
the recommendation.’” Douglas v. United States Servs. Auto. Ass’n, 79 F.3d 1415, 1420 (5th Cir. 1996) (quoting Fed.
R. Civ. P. 72(b) advisory committee’s note (1983)), superseded by statute on other grounds by 28 U.S.C. § 636(b)(1),
as stated in ACS Recovery Servs., Inc. v. Griffin, No. 11-40446, 2012 WL 1071216, at *7 n. 5 (5th Cir. April 2, 2012).

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filings, and the applicable law, the Court adopts the Report and Recommendation as amended in

this order.

         While the Court does adopt the Magistrate Court’s finding on the issue of the timeliness of

the instant petition, the Court also finds it necessary to address that specific issue in more detail.

         Before filing his federal petition, but after the conclusion of state habeas review, Petitioner

litigated several issues relating to DNA testing in a state court procedure. That kind of proceeding

generally stops AEDPA’s strict one-year statute of limitations period from accruing. The debate

between Petitioner and Respondent originates in Petitioner’s failure to receive notice that the state

district court had denied his DNA motion. The state district court signed an order denying

Petitioner’s motion on June 7, 2017.2 However, the state district court’s e-filing system contained

the wrong email addresses for his attorneys. The state district court never served a copy of the

order on Petitioner’s attorneys.3

         Further complicating the problem, the state district court entered the order under the wrong

docket number. “This resulted in the failure of the order to appear in the public, published court

docket.”4 The state district court did not file the order on the public docket “until sometime after

October 23, 2018.”5

         Petitioner’s attorneys did not become aware of the trial court’s order until “on or about

October 25, 2018.”6 On November 1, 2018, the state district court entered a superseding order

which recognized the failure to notify counsel of the earlier decision and reiterating its prior




2
  Dkt. No. 89-2 at 145.
3
  Id.
4
  Dkt. No. 103 at 8.
5
  Dkt. No. 89-2 at 145.
6
  Dkt. No. 103 at 9.

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rulings.7 The state district court explicitly said that “Petitioner’s attorneys were not properly

notified that the motion had been denied.”8

         Petitioner filed a notice of appeal on November 9, 2018.9 Almost simultaneously, counsel

filed a § 2254 petition in this Court.10 The state court appeal proceeded without the State raising

any objection that the notice of appeal was untimely. The Texas Court of Criminal Appeals entered

an order affirming the state district court’s order on May 5, 2021.11

         Respondent argues that this petition is late under AEDPA’s one-year limitations period.

Respondent reasons that Petitioner had thirty days after the June 7, 2017, order to file a notice of

appeal—even if Petitioner hadn’t received notice of it. According to Respondent, the November

9, 2018, notice of appeal was late. Respondent contends that the superseding order issued on

November 1, 2018, was without any legal effect because the district court had already lost

jurisdiction.12 Thus, Respondent argues that “the trial court’s order dated November 1, 2018, has

no lawful effect and does not resurrect the pendency of the Chapter 64 proceedings.”13 Respondent

did not raise any of these issues in the state court proceeding. Here, Respondent does not offer any

explanation for why these issues were not raised in the state court proceedings. Furthermore,

Respondent does not discuss the district court’s errors which prevented counsel from receiving

timely notice of the June 7, 2017 order.

         AEDPA requires state prisoners to file for federal habeas relief within a year of their

conviction becoming final.14 That limitations period is statutorily tolled during the pendency of a


7
  Dkt. No. 89-2 at 144-47.
8
  Id. at 145.
9
  Id. at 149-50.
10
   Dkt. No. 24 (Nov. 30, 2018).
11
   Ramirez v. State, 621 S.W.3d 711 (Tex. Crim. App. 2021).
12
   See Tex. R. App. R. 26.2(a) (“The notice of appeal must be filed: (1) 30 days after the day sentence is imposed or
suspended in open court, or after the day the trial court enters an appealable order.”).
13
   Dkt. No. 95 at 55.
14
   28 U.S.C. § 2244(d)(1)(A).

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“properly filed application for State post-conviction or other collateral review.”15 However, the

Fifth Circuit has made clear that a petitioner is entitled to equitable tolling in a matter subject to

the AEDPA limitations “if he shows (1) that he has been pursuing his rights diligently, and (2) that

some extraordinary circumstance stood in his way and prevented timely filing.”16 “Equitable

tolling is a discretionary doctrine that turns on the facts and circumstances of a particular case.”17

         In this case, the “extraordinary circumstances” at issue involve the clerical errors made by

the state district court. Thus, despite any argument raised by Respondents regarding the statutorily

mandated untimeliness of this Petition, the Court finds that the state court’s clerical errors

constitute an extraordinary circumstance that stood in the way and prevented Petitioner from

timely filing the instant matter.18 Further, after receiving notification of the trial court’s order on

October 25, 2018, Petitioner was diligent in filing a notice of appeal on November 9, 2018 19 and

by filling a petition in this Court on November 30, 2018.20 Therefore, the Court finds that equitable

tolling applies in this matter. Because Petitioner is entitled to equitable tolling, the instant Petition

filed on November 30, 201821 is well within the year that § 2244(d)(1) affords. Accordingly, the

Court considers the Petition on the merits. Nonetheless, the Court finds that Petitioner is not

entitled to the relief he seeks.




15
   Id. at § 2244(d)(2).
16
   Holland v. Fla., 560 U.S. 631, 648, 130 S. Ct. 2549, 177 L. Ed. 2d 130 (2010) (internal citations omitted).
17
   Jones v. Lumpkin, 22 F.4th 486 (5th Cir.), cert. denied, 143 S. Ct. 127, 214 L. Ed. 2d 36 (2022) (internal citations
omitted).
18
   See Williams v. Thaler, 400 F. App’x 886, 892 (5th Cir. 2010) (“Our delayed notice cases demonstrate that the
simple fact that a petitioner did not receive notice that the AEDPA limitations period had ceased to toll may be an
extraordinary circumstance that warrants equitable tolling.”); see also Phillips v. Donnelly, 216 F.3d 508, 511 (5th
Cir. 2000) (“[W]e conclude that the delay in receiving notification that Phillips describes could qualify for equitable
tolling.”).
19
   Thaler, 400 F. App'x at 891 (“Williams must also demonstrate that he quickly pursued federal habeas relief after
receiving delayed notice of the denial of his state habeas application.”).
20
   Dkt. No. 24.
21
   Id.

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       In sum, Respondent’s Motion for Summary Judgment is hereby GRANTED, Petitioner’s

Cross-Motion for Summary Judgment is hereby DENIED, the Petition is hereby DENIED, and

this action is DISMISSED. However, a Certificate of Appealability is hereby GRANTED on the

issue of timeliness and whether Petitioner is entitled to equitable tolling.

       IT IS SO ORDERED.

       DONE at McAllen, Texas, this 15th of October, 2024.


                                                       __________________________________
                                                                  Micaela Alvarez
                                                          Senior United States District Judge




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